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                    1   James N. Fincher, S.B.N. 196837
                        Merced County Counsel
                    2   Roger S. Matzkind, S.B.N. 77331
                        Chief Civil Litigator
                    3   James E. Stone, S.B.N. 197803
                        Deputy County Counsel
                    4   2222 M Street
                        Merced, Ca 95340
                    5   Tel: (209) 385-7564
                        Fax: (209) 726-1337
                    6
                        Attorney for Merced County Deputy Sheriffs Clark and Macias
                    7
                    8                              United States District Court
                    9                              Eastern District of California
                  10
                        Theodore Furtado Medeiros,                  Case No. 1:09-cv-01177-GSA
                  11
                  12                 Plaintiff,
                                                                    Stipulation and Order For Dismissal
                  13          v.                                    With Prejudice
                  14
                        Merced County Sheriff Deputy Clark
                  15    (#5142), individually and in his official
                        capacity, Merced County Sheriff Deputy
                  16    Eric Macias (#5185), individually and in
                  17    his official capacity, and Does 1-20,

                  18                 Defendants.
                  19
                  20
                  21           IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff
                  22    Theodore Furtado Medeiros and Defendants Deputy Lane Clark and Deputy Eric
                  23    Macias (“County Defendants”), by and through their respective undersigned
                  24    counsel, that the entire action be dismissed with prejudice pursuant to Rule
                  25    41(a)(1) of the Federal Rules of Civil Procedure, each party to bear their own
                  26    attorney fees and costs.
                  27    ///
                  28    ///


Merced County Counsel
2222 M Street
Merced, CA 95340                                                   1
(209) 385-7564                             Stipulation and Order For Dismissal With Prejudice
                        Case 1:09-cv-01177-GSA Document 102 Filed 09/03/13 Page 2 of 2


                    1   Dated: August 22, 2013                                      Law offices of Stephen Solano
                    2
                    3                                                               By: _/s/ Stephen Solano ___________
                                                                                           Stephen Solano, Esq.
                    4                                                                      Attorney for Plaintiff
                    5
                    6   Dated: August 23, 2013                                      James N. Fincher
                                                                                    Merced County Counsel
                    7
                    8
                                                                                    By: __/s/ Roger S. Matzkind ________
                    9
                                                                                           Roger S. Matzkind,
                  10                                                                       Chief Civil Litigator,
                                                                                           Attorney for County of Merced,
                  11                                                                       Deputy Lane Clark and Deputy
                  12                                                                       Erick Macias

                  13
                  14
                  15                                                               Order
                  16                              Pursuant to the stipulation of the parties filed on August 29, 2013, IT IS
                  17    HEREBY ORDERED that the entire action is dismissed with prejudice pursuant
                  18    to Rule 41(a)(1) of the Federal Rules of Civil Procedure, each party to bear their
                  19    own attorney fees and costs. The Clerk of the Court is directed to close this
                  20    action.
                  21
                  22
                  23    IT IS SO ORDERED.
                  24
                                               Dated:   August 30, 2013                            /s/ Gary S. Austin
                  25    DEAC_Sign ature-END:
                                                                                         UNITED STATES MAGISTRATE JUDGE
                  26
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                  27
                  28


Merced County Counsel
2222 M Street
Merced, CA 95340                                                                      2
(209) 385-7564                                                Stipulation and Order For Dismissal With Prejudice
